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 1
 2              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 3      UNITED STATES OF AMERICA,
                                                                Case No. CR11-5305BHS
 4                            Plaintiff,
                 v.                                      ORDER RE: ALLEGATIONS OF
 5      BRYAN SOTOMISH,                                  VIOLATION OF CONDITIONS OF
                                                         SUPERVISION BY UNITED STATES
 6                            Defendant.                 PRETRIAL SERVICES

 7
 8
     THIS MATTER comes on for hearing on the Petition of the United States Pretrial Services Office
 9   Office alleging defendant violated the conditions of supervision as set forth in said Petition.

10   The plaintiff appears through Special/Assistant United States Attorney, David Jennings ;
     The defendant appears personally and represented by counsel, Ronald Ness ;
11
     The defendant has been advised of (a) the alleged violations; (b) the right to a hearing; and c) that
12   defendant’s Appearance Bond could be revoked and defendant detained pending resolution of the
     underlying charges in the Complaint/Indictment/Information if found to be in violation of supervision.
13
     The defendant having
14   (X) acknowledged the right to a hearing on the merits, voluntarily waived that hearing, and
     acknowledged violating the following bond conditions as set forth below:
15
     1) Failing to maintain residence as directed on or about July 6, 2011.
16   2) Failing to maintain residence as directed on or about July 15, 2011.
     3) Failing to submit to drug and alcohol testing on July 20, 2011.
17   4) Failing to participate in substance abuse treatment on July 20, 2011.

18
19   ( ) been found to be in violation of his bond as set forth below after a hearing before the undersigned:

20
21   The court having determined that the defendant violated the conditions of his/her Appearance Bond,
     Now therefore defendant’s Appearance Bond is hereby:
22   ( ) continued in effect.
     ( ) modified as follows:
23   (X) revoked, and the defendant is ordered detained for failing to show that he/she will not flee or pose
     a danger to any other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be
24   delivered as ordered by the court for further proceedings. .

25   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
     the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.
26
                                                          August 18, 2011.
27
28                                                        s/ J Kelley Arnold
                                                          J Kelley Arnold, U.S. Magistrate Judge

     ORDER
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